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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA


                                  MEMORANDUM



Honorable Morrison C. England, Jr.
Chief United States District Judge
Sacramento, California

                                              RE: Sohail Mohammed AMIN
                                                  Docket Number: 2:10CR00364-01
                                                  NOTICE OF TOLLING TIME


Your Honor:


On November 16, 2012, Sohail Mohammed Amin was sentenced following his conviction for
18 USC 4 - Misprision of a Felony. His sentence included 18-months custody of the Bureau of
Prisons followed by 12 months Supervised Release. He released from custody on February 28,
2014, and is scheduled to naturally terminate Supervised Release on February 27, 2015.

On November 20, 2014, Mr. Amin was sentenced in the Northern District of Texas, Dallas
Division, following his conviction for a violation of 18 USC 371 & 201(b)(1)(A) and (C) -
Conspiracy to Bribe Public Officials in Docket Number 3:13CR00417-01. Mr. Amin was
ordered to serve a 42-month term of imprisonment followed by a 2-year term of Supervised
Release. Mr. Amin voluntarily surrendered himself to begin serving his sentence on
January 13, 2015.

Pursuant to 18 USC 3624(e) - a term of Supervised Release does not run during any period in
which the person is imprisoned in connection with a conviction for a Federal, State, or Local
crime unless the imprisonment is for a period of less than 30 consecutive days.

Based on the above, the remaining 45 days of supervised release would commence upon his
release from the Bureau of Prisons. This is respectfully submitted for Your Honor’s awareness
that time will be tolled accordingly.

                                     Respectfully submitted,

                                        /s/ Laura Weigel

                                      Laura Weigel
                              United States Probation Officer


                                                                                          REV. 03/2014
                                                                             MEMO-COURT W ORDER.DOTX
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    RE:       Sohail Mohammed AMIN
              Docket Number: 2:10CR00364-01
              NOTICE OF TOLLING TIME




    Dated:      January 26, 2015
                Modesto, California
                LW/lr


                                          /s/ Jack C. Roberson
    REVIEWED BY:                 Jack C. Roberson
                                 Supervising United States Probation Officer



                                           ORDER OF THE COURT

          Approved – Term of Supervised Release to be tolled            Disapproved – Probation Officer to contact the
☒         accordingly.
                                                                ☐       Court.



     Date                                                               Honorable Morrison C. England, Jr.
                                                                        Chief United States District Judge
             Dated: January 26, 2015




    cc:       Michael M. Beckwith
              Assistant United States Attorney

              Cristina C. Arguedas
              Defense Counsel (Retained)




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                                                                                         MEMO_COURT W ORDER.DOTX
